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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

 UNITED STATES OF AMERICA,                                   $
                                                             $
                                Phintill,                    $
                                                             $
                                                             $         CASE   NO.   7:18-CV-338
                                                             $
 27.36 ACRES OFLAND. MORE OR                                 s
 LESS, SITUATE IN HIDALGO                                $
 COLINTY. STATE OF TEXASI AND                            $
 HEIRS OF ROMULO CAVAZOS, ET AL.,                        $
                                                         $
                             Defendanls                  $



                         WAI\'ER OF SERVI(]E OF JUDICIAL PROCESS


                           TO      MEGAN EYES
                                   Assistant United States Attomey
                                   1701 W. Bus. Highway 83, Suite 600
                                   McAllen. Texas 78501

          I   acknowledge receipt of your request to waive service ofjudicial process in this action

along with a copy of the Notice of Condemnation, two copies of this waiver form, and a self-

addressed postage-free envelope that        I can   use to retum one signed copy    ofthe waiver to you, at

no cost to me.

          I, or the entity on whose behalfl am acting, agee to avoid the costs associated with formal

service   ofjudicial process in the manner provided by Federal Rules of Civil Procedure 4 and         7l.l.
          I understand that I, or the entity on whose behalf I am acting, will retain all      defenses or

objections to the lawsuit, the court's jurisdiction, and the venue of the action, but that I waive any

objections to a defect in the Notice ofCondemnation or in the service thereof.



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        I understand that I, or the entity on whose behalfl am acting, pursuant to Federal Rule of

Civil Procedure 71.1, may file a notice of     appearance     if   there is no objection or defense to the

taking ofthe condemned lands. In the altemative, ifthere is an objection or defense to said taking,

I, or the entity on whose behalf I am acting, must serve an answer upon plaintiffs attomey at the

address herein designated within twenty-one (21) days after being served with the Notice                 of

Condemnation. I further acknowledge that the answer must identify the property in which I, or the

entity on whose behalf I am acting, claim an interest, state the nature and extent of the interest

claimed, and state all objections or defenses to the taking.

       I, or the entity on whose behalf I am acting, understand that a failure to serve an answer

within twenty-one   (21 ) days shall constitute a consent to the taking and to the authority   ofthe court

to proceed to hear the action and fix just compensation, and shall constitute a waiver     ofall   defenses

and objections not so presented.

       I further understand that at the trial ofthe issue ofjust compensation, whether or not I, or

the entity on whose behalf I am acting, have filed an answer or served a notice of appearance, I

may present evidence as to the amount ofjust compensation to be paid for the property acquired

herein and I may share in the distribution ofthe award for compensation.




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